       25-10684-jpm                    Doc 24              Filed 06/04/25 Entered     06/04/25
                                                                                 This is            13:36:35
                                                                                         the total dollar          Main
                                                                                                          amount owed  to Document
25-10684                                                                Pg 1 of 14
                                                                                 the creditors that are entered on this page. 15648907.47
                                                                                   Use this number to calculate the total
                                                                                   amount of ALL non-priority unsecured creditors.
 (-79 "#        ,6:7 &'&()%')%*, +580.:70/ $3-248 " $65925:-9265 (-10


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                               Total claim


4.7
                                                                                                               6567555 555 555
                                                                               Last 4 digits of account number 555
        TFP Partners
       5555555555555555555555555555555555555555555555555555555555555                                                                                 "555555555555
       -CBDF>CF>HK *F:9>HCFNG -6A:
                                                                               When was the debt incurred?            555555555555
                                                                                                                       12/04/2020
        109 South 5th Street
       5555555555555555555555555555555555555555555555555555555555555
       -IA7:F          0HF::H
                                                                               As of the date you file, the claim is: *=:8? 6@@ H=6H 6DD@K%
        Brooklyn, New York 11249
       5555555555555555555555555555555555555555555555555555555555555
       *>HK                                        0H6H:       4,/ *C9:        & *CBH>B<:BH
                                                                               & 2B@>EI>96H:9
       Who incurred the debt? *=:8? CB:%                                       & +>GDIH:9
       & +:7HCF & CB@K
       & +:7HCF ' CB@K                                                         1KD: C; NONPRIORITY IBG:8IF:9 8@6>A(
       & +:7HCF & 6B9 +:7HCF ' CB@K                                            & 0HI9:BH @C6BG
       & )H @:6GH CB: C; H=: 9:7HCFG 6B9 6BCH=:F                               & .7@><6H>CBG 6F>G>B< CIH C; 6 G:D6F6H>CB 6<F::A:BH CF 9>JCF8: H=6H
                                                                                   KCI 9>9 BCH F:DCFH 6G DF>CF>HK 8@6>AG
       & Check if this claim is for a community debt
                                                                               & +:7HG HC D:BG>CB CF DFC;>H$G=6F>B< D@6BG# 6B9 CH=:F G>A>@6F 9:7HG
       Is the claim subject to offset?                                         & .H=:F% 0D:8>;K55555555555555555555555555555555
                                                                                                TFP Aviation LLC vs PB Aviation LLC et
       & -C
       & 3:G

4.8
                                                                               Last 4 digits of account number 555
                                                                                                               0727555 555 555                       "555555555555
        Caribbean Sun Airlines
       5555555555555555555555555555555555555555555555555555555555555
       -CBDF>CF>HK *F:9>HCFNG -6A:
                                                                               When was the debt incurred?            555555555555
                                                                                                                          2021
        5000 N.W. 36TH STREET Suite #307
       5555555555555555555555555555555555555555555555555555555555555
       -IA7:F          0HF::H
                                                                               As of the date you file, the claim is: *=:8? 6@@ H=6H 6DD@K%
        MIAMI, FL 33122
       5555555555555555555555555555555555555555555555555555555555555
       *>HK                                        0H6H:       4,/ *C9:        & *CBH>B<:BH
                                                                               & 2B@>EI>96H:9
       Who incurred the debt? *=:8? CB:%                                       & +>GDIH:9
       & +:7HCF & CB@K
       & +:7HCF ' CB@K                                                         1KD: C; NONPRIORITY IBG:8IF:9 8@6>A(
       & +:7HCF & 6B9 +:7HCF ' CB@K                                            & 0HI9:BH @C6BG
       & )H @:6GH CB: C; H=: 9:7HCFG 6B9 6BCH=:F                               & .7@><6H>CBG 6F>G>B< CIH C; 6 G:D6F6H>CB 6<F::A:BH CF 9>JCF8: H=6H
                                                                                   KCI 9>9 BCH F:DCFH 6G DF>CF>HK 8@6>AG
       & Check if this claim is for a community debt
                                                                               & +:7HG HC D:BG>CB CF DFC;>H$G=6F>B< D@6BG# 6B9 CH=:F G>A>@6F 9:7HG
       Is the claim subject to offset?                                         & .H=:F% 0D:8>;K55555555555555555555555555555555
                                                                                                CSA Inc et al vs David Alan Boyer et al
       & -C
       & 3:G
4.9.
                                                                                                                                                       5000000
                                                                                                                                                     "555555555555
                                                                                                               4427555 555 555
                                                                               Last 4 digits of account number 555
        Halevi Law Suit Judgement
       5555555555555555555555555555555555555555555555555555555555555
       -CBDF>CF>HK *F:9>HCFNG -6A:
                                                                               When was the debt incurred?            555555555555
                                                                                                                         12-2022
        80 Maiden Ln
       5555555555555555555555555555555555555555555555555555555555555
       -IA7:F          0HF::H
                                                                               As of the date you file, the claim is: *=:8? 6@@ H=6H 6DD@K%
        New York, NY 10038
       5555555555555555555555555555555555555555555555555555555555555
       *>HK                                        0H6H:       4,/ *C9:        & *CBH>B<:BH
                                                                               & 2B@>EI>96H:9
       Who incurred the debt? *=:8? CB:%                                       & +>GDIH:9
       & +:7HCF & CB@K
       & +:7HCF ' CB@K                                                         1KD: C; NONPRIORITY IBG:8IF:9 8@6>A(
       & +:7HCF & 6B9 +:7HCF ' CB@K                                            & 0HI9:BH @C6BG
       & )H @:6GH CB: C; H=: 9:7HCFG 6B9 6BCH=:F                               & .7@><6H>CBG 6F>G>B< CIH C; 6 G:D6F6H>CB 6<F::A:BH CF 9>JCF8: H=6H
                                                                                   KCI 9>9 BCH F:DCFH 6G DF>CF>HK 8@6>AG
       & Check if this claim is for a community debt
                                                                               & +:7HG HC D:BG>CB CF DFC;>H$G=6F>B< D@6BG# 6B9 CH=:F G>A>@6F 9:7HG
       Is the claim subject to offset?                                         & .H=:F% 0D:8>;K55555555555555555555555555555555
                                                                                                Judgement Halevi Enterprises LLC
       & -C
       & 3:G
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                                                                       Pg 2 of 14
 (-79 "#       ,6:7 &'&()%')%*, +580.:70/ $3-248 " $65925:-9265 (-10


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                           Total claim


5.0
                                                                                                           6345555 555 555
                                                                           Last 4 digits of account number 555
       Virgin Atlantic Visa
      5555555555555555555555555555555555555555555555555555555555555                                                                               9500
                                                                                                                                                 "555555555555
      -CBDF>CF>HK *F:9>HCFNG -6A:
                                                                           When was the debt incurred?            555555555555
                                                                                                                     08/2023
       P.O. Box 15019
      5555555555555555555555555555555555555555555555555555555555555
      -IA7:F          0HF::H
                                                                           As of the date you file, the claim is: *=:8? 6@@ H=6H 6DD@K%
       Wilmington, DE 19850
      5555555555555555555555555555555555555555555555555555555555555
      *>HK                                        0H6H:      4,/ *C9:      & *CBH>B<:BH
                                                                           & 2B@>EI>96H:9
      Who incurred the debt? *=:8? CB:%                                    & +>GDIH:9
      & +:7HCF & CB@K
      & +:7HCF ' CB@K                                                      1KD: C; NONPRIORITY IBG:8IF:9 8@6>A(
      & +:7HCF & 6B9 +:7HCF ' CB@K                                         & 0HI9:BH @C6BG
      & )H @:6GH CB: C; H=: 9:7HCFG 6B9 6BCH=:F                            & .7@><6H>CBG 6F>G>B< CIH C; 6 G:D6F6H>CB 6<F::A:BH CF 9>JCF8: H=6H
                                                                               KCI 9>9 BCH F:DCFH 6G DF>CF>HK 8@6>AG
      & Check if this claim is for a community debt
                                                                           & +:7HG HC D:BG>CB CF DFC;>H$G=6F>B< D@6BG# 6B9 CH=:F G>A>@6F 9:7HG
      Is the claim subject to offset?                                      & .H=:F% 0D:8>;K55555555555555555555555555555555
      & -C
      & 3:G

5.1
       MTA Bridges and Tunnels                                             Last 4 digits of account number 555 555 555 555                        18811
                                                                                                                                                 "555555555555
      5555555555555555555555555555555555555555555555555555555555555
      -CBDF>CF>HK *F:9>HCFNG -6A:
                                                                           When was the debt incurred?            555555555555
                                                                                                                     03/2025
       PO Box 15103
      5555555555555555555555555555555555555555555555555555555555555
      -IA7:F          0HF::H
                                                                           As of the date you file, the claim is: *=:8? 6@@ H=6H 6DD@K%
       Albany, NY 12212
      5555555555555555555555555555555555555555555555555555555555555
      *>HK                                        0H6H:      4,/ *C9:      & *CBH>B<:BH
                                                                           & 2B@>EI>96H:9
      Who incurred the debt? *=:8? CB:%                                    & +>GDIH:9
      & +:7HCF & CB@K
      & +:7HCF ' CB@K                                                      1KD: C; NONPRIORITY IBG:8IF:9 8@6>A(
      & +:7HCF & 6B9 +:7HCF ' CB@K                                         & 0HI9:BH @C6BG
      & )H @:6GH CB: C; H=: 9:7HCFG 6B9 6BCH=:F                            & .7@><6H>CBG 6F>G>B< CIH C; 6 G:D6F6H>CB 6<F::A:BH CF 9>JCF8: H=6H
                                                                               KCI 9>9 BCH F:DCFH 6G DF>CF>HK 8@6>AG
      & Check if this claim is for a community debt
                                                                           & +:7HG HC D:BG>CB CF DFC;>H$G=6F>B< D@6BG# 6B9 CH=:F G>A>@6F 9:7HG
      Is the claim subject to offset?                                      & .H=:F% 0D:8>;K55555555555555555555555555555555
                                                                                            Fines for Tolls not driven personally
      & -C
      & 3:G

5.2                                                                                                                                                6000000
                                                                                                                                                 "555555555555
       UST Covid Cares Program Loan                                        Last 4 digits of account number 555 555 555 555
      5555555555555555555555555555555555555555555555555555555555555
      -CBDF>CF>HK *F:9>HCFNG -6A:
                                                                           When was the debt incurred?            555555555555
                                                                                                                     03/2025
       1500 Pennsylvania Ave
      5555555555555555555555555555555555555555555555555555555555555
      -IA7:F          0HF::H
                                                                           As of the date you file, the claim is: *=:8? 6@@ H=6H 6DD@K%
       NW, Washington D.C. 20220
      5555555555555555555555555555555555555555555555555555555555555
      *>HK                                        0H6H:      4,/ *C9:      & *CBH>B<:BH
                                                                           & 2B@>EI>96H:9
      Who incurred the debt? *=:8? CB:%                                    & +>GDIH:9
      & +:7HCF & CB@K
      & +:7HCF ' CB@K                                                      1KD: C; NONPRIORITY IBG:8IF:9 8@6>A(
      & +:7HCF & 6B9 +:7HCF ' CB@K                                         & 0HI9:BH @C6BG
      & )H @:6GH CB: C; H=: 9:7HCFG 6B9 6BCH=:F                            & .7@><6H>CBG 6F>G>B< CIH C; 6 G:D6F6H>CB 6<F::A:BH CF 9>JCF8: H=6H
                                                                               KCI 9>9 BCH F:DCFH 6G DF>CF>HK 8@6>AG
      & Check if this claim is for a community debt
                                                                           & +:7HG HC D:BG>CB CF DFC;>H$G=6F>B< D@6BG# 6B9 CH=:F G>A>@6F 9:7HG
      Is the claim subject to offset?                                      & .H=:F% 0D:8>;K55555555555555555555555555555555
                                                                                            PG Loans
      & -C
      & 3:G
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 (-79 "#       ,6:7 &'&()%')%*, +580.:70/ $3-248 " $65925:-9265 (-10


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                           Total claim


5.3
                                                                           Last 4 digits of account number 555 555 555 555                         500000
       SBA EIDL Loan
      5555555555555555555555555555555555555555555555555555555555555                                                                              "555555555555
      -CBDF>CF>HK *F:9>HCFNG -6A:
                                                                           When was the debt incurred?            555555555555
                                                                                                                     03/2023
       PO Box 3918
      5555555555555555555555555555555555555555555555555555555555555
      -IA7:F          0HF::H
                                                                           As of the date you file, the claim is: *=:8? 6@@ H=6H 6DD@K%
       Portland OR 97208
      5555555555555555555555555555555555555555555555555555555555555
      *>HK                                        0H6H:      4,/ *C9:      & *CBH>B<:BH
                                                                           & 2B@>EI>96H:9
      Who incurred the debt? *=:8? CB:%                                    & +>GDIH:9
      & +:7HCF & CB@K
      & +:7HCF ' CB@K                                                      1KD: C; NONPRIORITY IBG:8IF:9 8@6>A(
      & +:7HCF & 6B9 +:7HCF ' CB@K                                         & 0HI9:BH @C6BG
      & )H @:6GH CB: C; H=: 9:7HCFG 6B9 6BCH=:F                            & .7@><6H>CBG 6F>G>B< CIH C; 6 G:D6F6H>CB 6<F::A:BH CF 9>JCF8: H=6H
                                                                               KCI 9>9 BCH F:DCFH 6G DF>CF>HK 8@6>AG
      & Check if this claim is for a community debt
                                                                           & +:7HG HC D:BG>CB CF DFC;>H$G=6F>B< D@6BG# 6B9 CH=:F G>A>@6F 9:7HG
      Is the claim subject to offset?                                      & .H=:F% 0D:8>;K55555555555555555555555555555555
                                                                                            PG Loan JMD Aviation Holdings, LLC
      & -C
      & 3:G

5.4
       ConEd                                                               Last 4 digits of account number 555 555 555 555                         1284.47
                                                                                                                                                 "555555555555
      5555555555555555555555555555555555555555555555555555555555555
      -CBDF>CF>HK *F:9>HCFNG -6A:
                                                                           When was the debt incurred?            555555555555
                                                                                                                     04/2025
       PO Box 1702
      5555555555555555555555555555555555555555555555555555555555555
      -IA7:F          0HF::H
                                                                           As of the date you file, the claim is: *=:8? 6@@ H=6H 6DD@K%
       New York, NY 10116
      5555555555555555555555555555555555555555555555555555555555555
      *>HK                                        0H6H:      4,/ *C9:      & *CBH>B<:BH
                                                                           & 2B@>EI>96H:9
      Who incurred the debt? *=:8? CB:%                                    & +>GDIH:9
      & +:7HCF & CB@K
      & +:7HCF ' CB@K                                                      1KD: C; NONPRIORITY IBG:8IF:9 8@6>A(
      & +:7HCF & 6B9 +:7HCF ' CB@K                                         & 0HI9:BH @C6BG
      & )H @:6GH CB: C; H=: 9:7HCFG 6B9 6BCH=:F                            & .7@><6H>CBG 6F>G>B< CIH C; 6 G:D6F6H>CB 6<F::A:BH CF 9>JCF8: H=6H
                                                                               KCI 9>9 BCH F:DCFH 6G DF>CF>HK 8@6>AG
      & Check if this claim is for a community debt
                                                                           & +:7HG HC D:BG>CB CF DFC;>H$G=6F>B< D@6BG# 6B9 CH=:F G>A>@6F 9:7HG
      Is the claim subject to offset?                                      & .H=:F% 0D:8>;K55555555555555555555555555555555
                                                                                            Electricty Bill
      & -C
      & 3:G

5.5                                                                                                                                                1483
                                                                                                                                                 "555555555555
                                                                           Last 4 digits of account number 555 555 555 555
       Verizon
      5555555555555555555555555555555555555555555555555555555555555
      -CBDF>CF>HK *F:9>HCFNG -6A:
                                                                           When was the debt incurred?            555555555555
                                                                                                                     04/2025
       500 Technology Drive, Suite 550
      5555555555555555555555555555555555555555555555555555555555555
      -IA7:F          0HF::H
                                                                           As of the date you file, the claim is: *=:8? 6@@ H=6H 6DD@K%
       Weldon Spring, MO 63304
      5555555555555555555555555555555555555555555555555555555555555
      *>HK                                        0H6H:      4,/ *C9:      & *CBH>B<:BH
                                                                           & 2B@>EI>96H:9
      Who incurred the debt? *=:8? CB:%                                    & +>GDIH:9
      & +:7HCF & CB@K
      & +:7HCF ' CB@K                                                      1KD: C; NONPRIORITY IBG:8IF:9 8@6>A(
      & +:7HCF & 6B9 +:7HCF ' CB@K                                         & 0HI9:BH @C6BG
      & )H @:6GH CB: C; H=: 9:7HCFG 6B9 6BCH=:F                            & .7@><6H>CBG 6F>G>B< CIH C; 6 G:D6F6H>CB 6<F::A:BH CF 9>JCF8: H=6H
                                                                               KCI 9>9 BCH F:DCFH 6G DF>CF>HK 8@6>AG
      & Check if this claim is for a community debt
                                                                           & +:7HG HC D:BG>CB CF DFC;>H$G=6F>B< D@6BG# 6B9 CH=:F G>A>@6F 9:7HG
      Is the claim subject to offset?                                      & .H=:F% 0D:8>;K55555555555555555555555555555555
                                                                                            Verizon Bill
      & -C
      & 3:G
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 (-79 "#       ,6:7 &'&()%')%*, +580.:70/ $3-248 " $65925:-9265 (-10


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                           Total claim


5.6
       Prescient Capital Management                                        Last 4 digits of account number 555 555 555 555                        4000000
      5555555555555555555555555555555555555555555555555555555555555                                                                              "555555555555
      -CBDF>CF>HK *F:9>HCFNG -6A:
                                                                           When was the debt incurred?            555555555555
                                                                                                                     01/2022
       PO Box 180673
      5555555555555555555555555555555555555555555555555555555555555
      -IA7:F          0HF::H
                                                                           As of the date you file, the claim is: *=:8? 6@@ H=6H 6DD@K%
       440 Wells Street, Suite 203, Delefield, WI 53018
      5555555555555555555555555555555555555555555555555555555555555
      *>HK                                        0H6H:      4,/ *C9:      & *CBH>B<:BH
                                                                           & 2B@>EI>96H:9
      Who incurred the debt? *=:8? CB:%                                    & +>GDIH:9
      & +:7HCF & CB@K
      & +:7HCF ' CB@K                                                      1KD: C; NONPRIORITY IBG:8IF:9 8@6>A(
      & +:7HCF & 6B9 +:7HCF ' CB@K                                         & 0HI9:BH @C6BG
      & )H @:6GH CB: C; H=: 9:7HCFG 6B9 6BCH=:F                            & .7@><6H>CBG 6F>G>B< CIH C; 6 G:D6F6H>CB 6<F::A:BH CF 9>JCF8: H=6H
                                                                               KCI 9>9 BCH F:DCFH 6G DF>CF>HK 8@6>AG
      & Check if this claim is for a community debt
                                                                           & +:7HG HC D:BG>CB CF DFC;>H$G=6F>B< D@6BG# 6B9 CH=:F G>A>@6F 9:7HG
      Is the claim subject to offset?                                      & .H=:F% 0D:8>;K55555555555555555555555555555555
      & -C
      & 3:G

5.7
                                                                           Last 4 digits of account number 555 555 555 555                        50000
                                                                                                                                                 "555555555555
       Becker & Polliakoff Attorneys
      5555555555555555555555555555555555555555555555555555555555555
      -CBDF>CF>HK *F:9>HCFNG -6A:
                                                                           When was the debt incurred?            555555555555
                                                                                                                     08/2024
       1 East Broward Blvd, Suite 1800
      5555555555555555555555555555555555555555555555555555555555555
      -IA7:F          0HF::H
                                                                           As of the date you file, the claim is: *=:8? 6@@ H=6H 6DD@K%
       Ft Lauderdale, FL 33301
      5555555555555555555555555555555555555555555555555555555555555
      *>HK                                        0H6H:      4,/ *C9:      & *CBH>B<:BH
                                                                           & 2B@>EI>96H:9
      Who incurred the debt? *=:8? CB:%                                    & +>GDIH:9
      & +:7HCF & CB@K
      & +:7HCF ' CB@K                                                      1KD: C; NONPRIORITY IBG:8IF:9 8@6>A(
      & +:7HCF & 6B9 +:7HCF ' CB@K                                         & 0HI9:BH @C6BG
      & )H @:6GH CB: C; H=: 9:7HCFG 6B9 6BCH=:F                            & .7@><6H>CBG 6F>G>B< CIH C; 6 G:D6F6H>CB 6<F::A:BH CF 9>JCF8: H=6H
                                                                               KCI 9>9 BCH F:DCFH 6G DF>CF>HK 8@6>AG
      & Check if this claim is for a community debt
                                                                           & +:7HG HC D:BG>CB CF DFC;>H$G=6F>B< D@6BG# 6B9 CH=:F G>A>@6F 9:7HG
      Is the claim subject to offset?                                      & .H=:F% 0D:8>;K55555555555555555555555555555555
                                                                                            Outstanding Legal Fees
      & -C
      & 3:G

5.8                                                                                                                                               67829
                                                                                                                                                 "555555555555
                                                                                                           9934555 555 555
                                                                           Last 4 digits of account number 555
       Chase Auto Loan
      5555555555555555555555555555555555555555555555555555555555555
      -CBDF>CF>HK *F:9>HCFNG -6A:
                                                                           When was the debt incurred?            555555555555
                                                                                                                     02/2025
       PO Box 182055, Columbus OH 43218
      5555555555555555555555555555555555555555555555555555555555555
      -IA7:F          0HF::H
                                                                           As of the date you file, the claim is: *=:8? 6@@ H=6H 6DD@K%
      5555555555555555555555555555555555555555555555555555555555555
      *>HK                                        0H6H:      4,/ *C9:      & *CBH>B<:BH
                                                                           & 2B@>EI>96H:9
      Who incurred the debt? *=:8? CB:%                                    & +>GDIH:9
      & +:7HCF & CB@K
      & +:7HCF ' CB@K                                                      1KD: C; NONPRIORITY IBG:8IF:9 8@6>A(
      & +:7HCF & 6B9 +:7HCF ' CB@K                                         & 0HI9:BH @C6BG
      & )H @:6GH CB: C; H=: 9:7HCFG 6B9 6BCH=:F                            & .7@><6H>CBG 6F>G>B< CIH C; 6 G:D6F6H>CB 6<F::A:BH CF 9>JCF8: H=6H
                                                                               KCI 9>9 BCH F:DCFH 6G DF>CF>HK 8@6>AG
      & Check if this claim is for a community debt
                                                                           & +:7HG HC D:BG>CB CF DFC;>H$G=6F>B< D@6BG# 6B9 CH=:F G>A>@6F 9:7HG
      Is the claim subject to offset?                                      & .H=:F% 0D:8>;K55555555555555555555555555555555
                                                                                            reposessed car
      & -C
      & 3:G
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(-79 "#      ,6:7 &'&()%')%*, +580.:70/ $3-248 " $65925:-9265 (-10


After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                          Total claim



                                                                         Last 4 digits of account number 555 555 555 555
    5555555555555555555555555555555555555555555555555555555555555                                                                              "555555555555
    -CBDF>CF>HK *F:9>HCFNG -6A:
                                                                         When was the debt incurred?            555555555555
    5555555555555555555555555555555555555555555555555555555555555
    -IA7:F          0HF::H
                                                                         As of the date you file, the claim is: *=:8? 6@@ H=6H 6DD@K%
    5555555555555555555555555555555555555555555555555555555555555
    *>HK                                        0H6H:      4,/ *C9:      & *CBH>B<:BH
                                                                         & 2B@>EI>96H:9
    Who incurred the debt? *=:8? CB:%                                    & +>GDIH:9
    & +:7HCF & CB@K
    & +:7HCF ' CB@K                                                      1KD: C; NONPRIORITY IBG:8IF:9 8@6>A(
    & +:7HCF & 6B9 +:7HCF ' CB@K                                         & 0HI9:BH @C6BG
    & )H @:6GH CB: C; H=: 9:7HCFG 6B9 6BCH=:F                            & .7@><6H>CBG 6F>G>B< CIH C; 6 G:D6F6H>CB 6<F::A:BH CF 9>JCF8: H=6H
                                                                             KCI 9>9 BCH F:DCFH 6G DF>CF>HK 8@6>AG
    & Check if this claim is for a community debt
                                                                         & +:7HG HC D:BG>CB CF DFC;>H$G=6F>B< D@6BG# 6B9 CH=:F G>A>@6F 9:7HG
    Is the claim subject to offset?                                      & .H=:F% 0D:8>;K55555555555555555555555555555555
    & -C
    & 3:G


                                                                         Last 4 digits of account number 555 555 555 555                       "555555555555
    5555555555555555555555555555555555555555555555555555555555555
    -CBDF>CF>HK *F:9>HCFNG -6A:
                                                                         When was the debt incurred?            555555555555
    5555555555555555555555555555555555555555555555555555555555555
    -IA7:F          0HF::H
                                                                         As of the date you file, the claim is: *=:8? 6@@ H=6H 6DD@K%
    5555555555555555555555555555555555555555555555555555555555555
    *>HK                                        0H6H:      4,/ *C9:      & *CBH>B<:BH
                                                                         & 2B@>EI>96H:9
    Who incurred the debt? *=:8? CB:%                                    & +>GDIH:9
    & +:7HCF & CB@K
    & +:7HCF ' CB@K                                                      1KD: C; NONPRIORITY IBG:8IF:9 8@6>A(
    & +:7HCF & 6B9 +:7HCF ' CB@K                                         & 0HI9:BH @C6BG
    & )H @:6GH CB: C; H=: 9:7HCFG 6B9 6BCH=:F                            & .7@><6H>CBG 6F>G>B< CIH C; 6 G:D6F6H>CB 6<F::A:BH CF 9>JCF8: H=6H
                                                                             KCI 9>9 BCH F:DCFH 6G DF>CF>HK 8@6>AG
    & Check if this claim is for a community debt
                                                                         & +:7HG HC D:BG>CB CF DFC;>H$G=6F>B< D@6BG# 6B9 CH=:F G>A>@6F 9:7HG
    Is the claim subject to offset?                                      & .H=:F% 0D:8>;K55555555555555555555555555555555
    & -C
    & 3:G

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                                                                         Last 4 digits of account number 555 555 555 555
    5555555555555555555555555555555555555555555555555555555555555
    -CBDF>CF>HK *F:9>HCFNG -6A:
                                                                         When was the debt incurred?            555555555555
    5555555555555555555555555555555555555555555555555555555555555
    -IA7:F          0HF::H
                                                                         As of the date you file, the claim is: *=:8? 6@@ H=6H 6DD@K%
    5555555555555555555555555555555555555555555555555555555555555
    *>HK                                        0H6H:      4,/ *C9:      & *CBH>B<:BH
                                                                         & 2B@>EI>96H:9
    Who incurred the debt? *=:8? CB:%                                    & +>GDIH:9
    & +:7HCF & CB@K
    & +:7HCF ' CB@K                                                      1KD: C; NONPRIORITY IBG:8IF:9 8@6>A(
    & +:7HCF & 6B9 +:7HCF ' CB@K                                         & 0HI9:BH @C6BG
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                                                                             KCI 9>9 BCH F:DCFH 6G DF>CF>HK 8@6>AG
    & Check if this claim is for a community debt
                                                                         & +:7HG HC D:BG>CB CF DFC;>H$G=6F>B< D@6BG# 6B9 CH=:F G>A>@6F 9:7HG
    Is the claim subject to offset?                                      & .H=:F% 0D:8>;K55555555555555555555555555555555
    & -C
    & 3:G
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                                                                         Last 4 digits of account number 555 555 555 555
    5555555555555555555555555555555555555555555555555555555555555                                                                              "555555555555
    -CBDF>CF>HK *F:9>HCFNG -6A:
                                                                         When was the debt incurred?            555555555555
    5555555555555555555555555555555555555555555555555555555555555
    -IA7:F          0HF::H
                                                                         As of the date you file, the claim is: *=:8? 6@@ H=6H 6DD@K%
    5555555555555555555555555555555555555555555555555555555555555
    *>HK                                        0H6H:      4,/ *C9:      & *CBH>B<:BH
                                                                         & 2B@>EI>96H:9
    Who incurred the debt? *=:8? CB:%                                    & +>GDIH:9
    & +:7HCF & CB@K
    & +:7HCF ' CB@K                                                      1KD: C; NONPRIORITY IBG:8IF:9 8@6>A(
    & +:7HCF & 6B9 +:7HCF ' CB@K                                         & 0HI9:BH @C6BG
    & )H @:6GH CB: C; H=: 9:7HCFG 6B9 6BCH=:F                            & .7@><6H>CBG 6F>G>B< CIH C; 6 G:D6F6H>CB 6<F::A:BH CF 9>JCF8: H=6H
                                                                             KCI 9>9 BCH F:DCFH 6G DF>CF>HK 8@6>AG
    & Check if this claim is for a community debt
                                                                         & +:7HG HC D:BG>CB CF DFC;>H$G=6F>B< D@6BG# 6B9 CH=:F G>A>@6F 9:7HG
    Is the claim subject to offset?                                      & .H=:F% 0D:8>;K55555555555555555555555555555555
    & -C
    & 3:G


                                                                         Last 4 digits of account number 555 555 555 555                       "555555555555
    5555555555555555555555555555555555555555555555555555555555555
    -CBDF>CF>HK *F:9>HCFNG -6A:
                                                                         When was the debt incurred?            555555555555
    5555555555555555555555555555555555555555555555555555555555555
    -IA7:F          0HF::H
                                                                         As of the date you file, the claim is: *=:8? 6@@ H=6H 6DD@K%
    5555555555555555555555555555555555555555555555555555555555555
    *>HK                                        0H6H:      4,/ *C9:      & *CBH>B<:BH
                                                                         & 2B@>EI>96H:9
    Who incurred the debt? *=:8? CB:%                                    & +>GDIH:9
    & +:7HCF & CB@K
    & +:7HCF ' CB@K                                                      1KD: C; NONPRIORITY IBG:8IF:9 8@6>A(
    & +:7HCF & 6B9 +:7HCF ' CB@K                                         & 0HI9:BH @C6BG
    & )H @:6GH CB: C; H=: 9:7HCFG 6B9 6BCH=:F                            & .7@><6H>CBG 6F>G>B< CIH C; 6 G:D6F6H>CB 6<F::A:BH CF 9>JCF8: H=6H
                                                                             KCI 9>9 BCH F:DCFH 6G DF>CF>HK 8@6>AG
    & Check if this claim is for a community debt
                                                                         & +:7HG HC D:BG>CB CF DFC;>H$G=6F>B< D@6BG# 6B9 CH=:F G>A>@6F 9:7HG
    Is the claim subject to offset?                                      & .H=:F% 0D:8>;K55555555555555555555555555555555
    & -C
    & 3:G

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                                                                         Last 4 digits of account number 555 555 555 555
    5555555555555555555555555555555555555555555555555555555555555
    -CBDF>CF>HK *F:9>HCFNG -6A:
                                                                         When was the debt incurred?            555555555555
    5555555555555555555555555555555555555555555555555555555555555
    -IA7:F          0HF::H
                                                                         As of the date you file, the claim is: *=:8? 6@@ H=6H 6DD@K%
    5555555555555555555555555555555555555555555555555555555555555
    *>HK                                        0H6H:      4,/ *C9:      & *CBH>B<:BH
                                                                         & 2B@>EI>96H:9
    Who incurred the debt? *=:8? CB:%                                    & +>GDIH:9
    & +:7HCF & CB@K
    & +:7HCF ' CB@K                                                      1KD: C; NONPRIORITY IBG:8IF:9 8@6>A(
    & +:7HCF & 6B9 +:7HCF ' CB@K                                         & 0HI9:BH @C6BG
    & )H @:6GH CB: C; H=: 9:7HCFG 6B9 6BCH=:F                            & .7@><6H>CBG 6F>G>B< CIH C; 6 G:D6F6H>CB 6<F::A:BH CF 9>JCF8: H=6H
                                                                             KCI 9>9 BCH F:DCFH 6G DF>CF>HK 8@6>AG
    & Check if this claim is for a community debt
                                                                         & +:7HG HC D:BG>CB CF DFC;>H$G=6F>B< D@6BG# 6B9 CH=:F G>A>@6F 9:7HG
    Is the claim subject to offset?                                      & .H=:F% 0D:8>;K55555555555555555555555555555555
    & -C
    & 3:G
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                                                                         Last 4 digits of account number 555 555 555 555
    5555555555555555555555555555555555555555555555555555555555555                                                                              "555555555555
    -CBDF>CF>HK *F:9>HCFNG -6A:
                                                                         When was the debt incurred?            555555555555
    5555555555555555555555555555555555555555555555555555555555555
    -IA7:F          0HF::H
                                                                         As of the date you file, the claim is: *=:8? 6@@ H=6H 6DD@K%
    5555555555555555555555555555555555555555555555555555555555555
    *>HK                                        0H6H:      4,/ *C9:      & *CBH>B<:BH
                                                                         & 2B@>EI>96H:9
    Who incurred the debt? *=:8? CB:%                                    & +>GDIH:9
    & +:7HCF & CB@K
    & +:7HCF ' CB@K                                                      1KD: C; NONPRIORITY IBG:8IF:9 8@6>A(
    & +:7HCF & 6B9 +:7HCF ' CB@K                                         & 0HI9:BH @C6BG
    & )H @:6GH CB: C; H=: 9:7HCFG 6B9 6BCH=:F                            & .7@><6H>CBG 6F>G>B< CIH C; 6 G:D6F6H>CB 6<F::A:BH CF 9>JCF8: H=6H
                                                                             KCI 9>9 BCH F:DCFH 6G DF>CF>HK 8@6>AG
    & Check if this claim is for a community debt
                                                                         & +:7HG HC D:BG>CB CF DFC;>H$G=6F>B< D@6BG# 6B9 CH=:F G>A>@6F 9:7HG
    Is the claim subject to offset?                                      & .H=:F% 0D:8>;K55555555555555555555555555555555
    & -C
    & 3:G


                                                                         Last 4 digits of account number 555 555 555 555                       "555555555555
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    -CBDF>CF>HK *F:9>HCFNG -6A:
                                                                         When was the debt incurred?            555555555555
    5555555555555555555555555555555555555555555555555555555555555
    -IA7:F          0HF::H
                                                                         As of the date you file, the claim is: *=:8? 6@@ H=6H 6DD@K%
    5555555555555555555555555555555555555555555555555555555555555
    *>HK                                        0H6H:      4,/ *C9:      & *CBH>B<:BH
                                                                         & 2B@>EI>96H:9
    Who incurred the debt? *=:8? CB:%                                    & +>GDIH:9
    & +:7HCF & CB@K
    & +:7HCF ' CB@K                                                      1KD: C; NONPRIORITY IBG:8IF:9 8@6>A(
    & +:7HCF & 6B9 +:7HCF ' CB@K                                         & 0HI9:BH @C6BG
    & )H @:6GH CB: C; H=: 9:7HCFG 6B9 6BCH=:F                            & .7@><6H>CBG 6F>G>B< CIH C; 6 G:D6F6H>CB 6<F::A:BH CF 9>JCF8: H=6H
                                                                             KCI 9>9 BCH F:DCFH 6G DF>CF>HK 8@6>AG
    & Check if this claim is for a community debt
                                                                         & +:7HG HC D:BG>CB CF DFC;>H$G=6F>B< D@6BG# 6B9 CH=:F G>A>@6F 9:7HG
    Is the claim subject to offset?                                      & .H=:F% 0D:8>;K55555555555555555555555555555555
    & -C
    & 3:G

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                                                                         Last 4 digits of account number 555 555 555 555
    5555555555555555555555555555555555555555555555555555555555555
    -CBDF>CF>HK *F:9>HCFNG -6A:
                                                                         When was the debt incurred?            555555555555
    5555555555555555555555555555555555555555555555555555555555555
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                                                                         As of the date you file, the claim is: *=:8? 6@@ H=6H 6DD@K%
    5555555555555555555555555555555555555555555555555555555555555
    *>HK                                        0H6H:      4,/ *C9:      & *CBH>B<:BH
                                                                         & 2B@>EI>96H:9
    Who incurred the debt? *=:8? CB:%                                    & +>GDIH:9
    & +:7HCF & CB@K
    & +:7HCF ' CB@K                                                      1KD: C; NONPRIORITY IBG:8IF:9 8@6>A(
    & +:7HCF & 6B9 +:7HCF ' CB@K                                         & 0HI9:BH @C6BG
    & )H @:6GH CB: C; H=: 9:7HCFG 6B9 6BCH=:F                            & .7@><6H>CBG 6F>G>B< CIH C; 6 G:D6F6H>CB 6<F::A:BH CF 9>JCF8: H=6H
                                                                             KCI 9>9 BCH F:DCFH 6G DF>CF>HK 8@6>AG
    & Check if this claim is for a community debt
                                                                         & +:7HG HC D:BG>CB CF DFC;>H$G=6F>B< D@6BG# 6B9 CH=:F G>A>@6F 9:7HG
    Is the claim subject to offset?                                      & .H=:F% 0D:8>;K55555555555555555555555555555555
    & -C
    & 3:G
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                                                                         Last 4 digits of account number 555 555 555 555
    5555555555555555555555555555555555555555555555555555555555555                                                                              "555555555555
    -CBDF>CF>HK *F:9>HCFNG -6A:
                                                                         When was the debt incurred?            555555555555
    5555555555555555555555555555555555555555555555555555555555555
    -IA7:F          0HF::H
                                                                         As of the date you file, the claim is: *=:8? 6@@ H=6H 6DD@K%
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    *>HK                                        0H6H:      4,/ *C9:      & *CBH>B<:BH
                                                                         & 2B@>EI>96H:9
    Who incurred the debt? *=:8? CB:%                                    & +>GDIH:9
    & +:7HCF & CB@K
    & +:7HCF ' CB@K                                                      1KD: C; NONPRIORITY IBG:8IF:9 8@6>A(
    & +:7HCF & 6B9 +:7HCF ' CB@K                                         & 0HI9:BH @C6BG
    & )H @:6GH CB: C; H=: 9:7HCFG 6B9 6BCH=:F                            & .7@><6H>CBG 6F>G>B< CIH C; 6 G:D6F6H>CB 6<F::A:BH CF 9>JCF8: H=6H
                                                                             KCI 9>9 BCH F:DCFH 6G DF>CF>HK 8@6>AG
    & Check if this claim is for a community debt
                                                                         & +:7HG HC D:BG>CB CF DFC;>H$G=6F>B< D@6BG# 6B9 CH=:F G>A>@6F 9:7HG
    Is the claim subject to offset?                                      & .H=:F% 0D:8>;K55555555555555555555555555555555
    & -C
    & 3:G


                                                                         Last 4 digits of account number 555 555 555 555                       "555555555555
    5555555555555555555555555555555555555555555555555555555555555
    -CBDF>CF>HK *F:9>HCFNG -6A:
                                                                         When was the debt incurred?            555555555555
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                                                                         As of the date you file, the claim is: *=:8? 6@@ H=6H 6DD@K%
    5555555555555555555555555555555555555555555555555555555555555
    *>HK                                        0H6H:      4,/ *C9:      & *CBH>B<:BH
                                                                         & 2B@>EI>96H:9
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    & +:7HCF & CB@K
    & +:7HCF ' CB@K                                                      1KD: C; NONPRIORITY IBG:8IF:9 8@6>A(
    & +:7HCF & 6B9 +:7HCF ' CB@K                                         & 0HI9:BH @C6BG
    & )H @:6GH CB: C; H=: 9:7HCFG 6B9 6BCH=:F                            & .7@><6H>CBG 6F>G>B< CIH C; 6 G:D6F6H>CB 6<F::A:BH CF 9>JCF8: H=6H
                                                                             KCI 9>9 BCH F:DCFH 6G DF>CF>HK 8@6>AG
    & Check if this claim is for a community debt
                                                                         & +:7HG HC D:BG>CB CF DFC;>H$G=6F>B< D@6BG# 6B9 CH=:F G>A>@6F 9:7HG
    Is the claim subject to offset?                                      & .H=:F% 0D:8>;K55555555555555555555555555555555
    & -C
    & 3:G

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                                                                         Last 4 digits of account number 555 555 555 555
    5555555555555555555555555555555555555555555555555555555555555
    -CBDF>CF>HK *F:9>HCFNG -6A:
                                                                         When was the debt incurred?            555555555555
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    & +:7HCF ' CB@K                                                      1KD: C; NONPRIORITY IBG:8IF:9 8@6>A(
    & +:7HCF & 6B9 +:7HCF ' CB@K                                         & 0HI9:BH @C6BG
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                                                                             KCI 9>9 BCH F:DCFH 6G DF>CF>HK 8@6>AG
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                                                                         Last 4 digits of account number 555 555 555 555
    5555555555555555555555555555555555555555555555555555555555555                                                                              "555555555555
    -CBDF>CF>HK *F:9>HCFNG -6A:
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    & )H @:6GH CB: C; H=: 9:7HCFG 6B9 6BCH=:F                            & .7@><6H>CBG 6F>G>B< CIH C; 6 G:D6F6H>CB 6<F::A:BH CF 9>JCF8: H=6H
                                                                             KCI 9>9 BCH F:DCFH 6G DF>CF>HK 8@6>AG
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                                                                         Last 4 digits of account number 555 555 555 555                       "555555555555
    5555555555555555555555555555555555555555555555555555555555555
    -CBDF>CF>HK *F:9>HCFNG -6A:
                                                                         When was the debt incurred?            555555555555
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                                                                         & 2B@>EI>96H:9
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    & +:7HCF & CB@K
    & +:7HCF ' CB@K                                                      1KD: C; NONPRIORITY IBG:8IF:9 8@6>A(
    & +:7HCF & 6B9 +:7HCF ' CB@K                                         & 0HI9:BH @C6BG
    & )H @:6GH CB: C; H=: 9:7HCFG 6B9 6BCH=:F                            & .7@><6H>CBG 6F>G>B< CIH C; 6 G:D6F6H>CB 6<F::A:BH CF 9>JCF8: H=6H
                                                                             KCI 9>9 BCH F:DCFH 6G DF>CF>HK 8@6>AG
    & Check if this claim is for a community debt
                                                                         & +:7HG HC D:BG>CB CF DFC;>H$G=6F>B< D@6BG# 6B9 CH=:F G>A>@6F 9:7HG
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    & -C
    & 3:G

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                                                                         Last 4 digits of account number 555 555 555 555
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    -CBDF>CF>HK *F:9>HCFNG -6A:
                                                                         When was the debt incurred?            555555555555
    5555555555555555555555555555555555555555555555555555555555555
    -IA7:F          0HF::H
                                                                         As of the date you file, the claim is: *=:8? 6@@ H=6H 6DD@K%
    5555555555555555555555555555555555555555555555555555555555555
    *>HK                                        0H6H:      4,/ *C9:      & *CBH>B<:BH
                                                                         & 2B@>EI>96H:9
    Who incurred the debt? *=:8? CB:%                                    & +>GDIH:9
    & +:7HCF & CB@K
    & +:7HCF ' CB@K                                                      1KD: C; NONPRIORITY IBG:8IF:9 8@6>A(
    & +:7HCF & 6B9 +:7HCF ' CB@K                                         & 0HI9:BH @C6BG
    & )H @:6GH CB: C; H=: 9:7HCFG 6B9 6BCH=:F                            & .7@><6H>CBG 6F>G>B< CIH C; 6 G:D6F6H>CB 6<F::A:BH CF 9>JCF8: H=6H
                                                                             KCI 9>9 BCH F:DCFH 6G DF>CF>HK 8@6>AG
    & Check if this claim is for a community debt
                                                                         & +:7HG HC D:BG>CB CF DFC;>H$G=6F>B< D@6BG# 6B9 CH=:F G>A>@6F 9:7HG
    Is the claim subject to offset?                                      & .H=:F% 0D:8>;K55555555555555555555555555555555
    & -C
    & 3:G
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After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                          Total claim



                                                                         Last 4 digits of account number 555 555 555 555
    5555555555555555555555555555555555555555555555555555555555555                                                                              "555555555555
    -CBDF>CF>HK *F:9>HCFNG -6A:
                                                                         When was the debt incurred?            555555555555
    5555555555555555555555555555555555555555555555555555555555555
    -IA7:F          0HF::H
                                                                         As of the date you file, the claim is: *=:8? 6@@ H=6H 6DD@K%
    5555555555555555555555555555555555555555555555555555555555555
    *>HK                                        0H6H:      4,/ *C9:      & *CBH>B<:BH
                                                                         & 2B@>EI>96H:9
    Who incurred the debt? *=:8? CB:%                                    & +>GDIH:9
    & +:7HCF & CB@K
    & +:7HCF ' CB@K                                                      1KD: C; NONPRIORITY IBG:8IF:9 8@6>A(
    & +:7HCF & 6B9 +:7HCF ' CB@K                                         & 0HI9:BH @C6BG
    & )H @:6GH CB: C; H=: 9:7HCFG 6B9 6BCH=:F                            & .7@><6H>CBG 6F>G>B< CIH C; 6 G:D6F6H>CB 6<F::A:BH CF 9>JCF8: H=6H
                                                                             KCI 9>9 BCH F:DCFH 6G DF>CF>HK 8@6>AG
    & Check if this claim is for a community debt
                                                                         & +:7HG HC D:BG>CB CF DFC;>H$G=6F>B< D@6BG# 6B9 CH=:F G>A>@6F 9:7HG
    Is the claim subject to offset?                                      & .H=:F% 0D:8>;K55555555555555555555555555555555
    & -C
    & 3:G


                                                                         Last 4 digits of account number 555 555 555 555                       "555555555555
    5555555555555555555555555555555555555555555555555555555555555
    -CBDF>CF>HK *F:9>HCFNG -6A:
                                                                         When was the debt incurred?            555555555555
    5555555555555555555555555555555555555555555555555555555555555
    -IA7:F          0HF::H
                                                                         As of the date you file, the claim is: *=:8? 6@@ H=6H 6DD@K%
    5555555555555555555555555555555555555555555555555555555555555
    *>HK                                        0H6H:      4,/ *C9:      & *CBH>B<:BH
                                                                         & 2B@>EI>96H:9
    Who incurred the debt? *=:8? CB:%                                    & +>GDIH:9
    & +:7HCF & CB@K
    & +:7HCF ' CB@K                                                      1KD: C; NONPRIORITY IBG:8IF:9 8@6>A(
    & +:7HCF & 6B9 +:7HCF ' CB@K                                         & 0HI9:BH @C6BG
    & )H @:6GH CB: C; H=: 9:7HCFG 6B9 6BCH=:F                            & .7@><6H>CBG 6F>G>B< CIH C; 6 G:D6F6H>CB 6<F::A:BH CF 9>JCF8: H=6H
                                                                             KCI 9>9 BCH F:DCFH 6G DF>CF>HK 8@6>AG
    & Check if this claim is for a community debt
                                                                         & +:7HG HC D:BG>CB CF DFC;>H$G=6F>B< D@6BG# 6B9 CH=:F G>A>@6F 9:7HG
    Is the claim subject to offset?                                      & .H=:F% 0D:8>;K55555555555555555555555555555555
    & -C
    & 3:G

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                                                                         Last 4 digits of account number 555 555 555 555
    5555555555555555555555555555555555555555555555555555555555555
    -CBDF>CF>HK *F:9>HCFNG -6A:
                                                                         When was the debt incurred?            555555555555
    5555555555555555555555555555555555555555555555555555555555555
    -IA7:F          0HF::H
                                                                         As of the date you file, the claim is: *=:8? 6@@ H=6H 6DD@K%
    5555555555555555555555555555555555555555555555555555555555555
    *>HK                                        0H6H:      4,/ *C9:      & *CBH>B<:BH
                                                                         & 2B@>EI>96H:9
    Who incurred the debt? *=:8? CB:%                                    & +>GDIH:9
    & +:7HCF & CB@K
    & +:7HCF ' CB@K                                                      1KD: C; NONPRIORITY IBG:8IF:9 8@6>A(
    & +:7HCF & 6B9 +:7HCF ' CB@K                                         & 0HI9:BH @C6BG
    & )H @:6GH CB: C; H=: 9:7HCFG 6B9 6BCH=:F                            & .7@><6H>CBG 6F>G>B< CIH C; 6 G:D6F6H>CB 6<F::A:BH CF 9>JCF8: H=6H
                                                                             KCI 9>9 BCH F:DCFH 6G DF>CF>HK 8@6>AG
    & Check if this claim is for a community debt
                                                                         & +:7HG HC D:BG>CB CF DFC;>H$G=6F>B< D@6BG# 6B9 CH=:F G>A>@6F 9:7HG
    Is the claim subject to offset?                                      & .H=:F% 0D:8>;K55555555555555555555555555555555
    & -C
    & 3:G
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                                                                         Last 4 digits of account number 555 555 555 555
    5555555555555555555555555555555555555555555555555555555555555                                                                              "555555555555
    -CBDF>CF>HK *F:9>HCFNG -6A:
                                                                         When was the debt incurred?            555555555555
    5555555555555555555555555555555555555555555555555555555555555
    -IA7:F          0HF::H
                                                                         As of the date you file, the claim is: *=:8? 6@@ H=6H 6DD@K%
    5555555555555555555555555555555555555555555555555555555555555
    *>HK                                        0H6H:      4,/ *C9:      & *CBH>B<:BH
                                                                         & 2B@>EI>96H:9
    Who incurred the debt? *=:8? CB:%                                    & +>GDIH:9
    & +:7HCF & CB@K
    & +:7HCF ' CB@K                                                      1KD: C; NONPRIORITY IBG:8IF:9 8@6>A(
    & +:7HCF & 6B9 +:7HCF ' CB@K                                         & 0HI9:BH @C6BG
    & )H @:6GH CB: C; H=: 9:7HCFG 6B9 6BCH=:F                            & .7@><6H>CBG 6F>G>B< CIH C; 6 G:D6F6H>CB 6<F::A:BH CF 9>JCF8: H=6H
                                                                             KCI 9>9 BCH F:DCFH 6G DF>CF>HK 8@6>AG
    & Check if this claim is for a community debt
                                                                         & +:7HG HC D:BG>CB CF DFC;>H$G=6F>B< D@6BG# 6B9 CH=:F G>A>@6F 9:7HG
    Is the claim subject to offset?                                      & .H=:F% 0D:8>;K55555555555555555555555555555555
    & -C
    & 3:G


                                                                         Last 4 digits of account number 555 555 555 555                       "555555555555
    5555555555555555555555555555555555555555555555555555555555555
    -CBDF>CF>HK *F:9>HCFNG -6A:
                                                                         When was the debt incurred?            555555555555
    5555555555555555555555555555555555555555555555555555555555555
    -IA7:F          0HF::H
                                                                         As of the date you file, the claim is: *=:8? 6@@ H=6H 6DD@K%
    5555555555555555555555555555555555555555555555555555555555555
    *>HK                                        0H6H:      4,/ *C9:      & *CBH>B<:BH
                                                                         & 2B@>EI>96H:9
    Who incurred the debt? *=:8? CB:%                                    & +>GDIH:9
    & +:7HCF & CB@K
    & +:7HCF ' CB@K                                                      1KD: C; NONPRIORITY IBG:8IF:9 8@6>A(
    & +:7HCF & 6B9 +:7HCF ' CB@K                                         & 0HI9:BH @C6BG
    & )H @:6GH CB: C; H=: 9:7HCFG 6B9 6BCH=:F                            & .7@><6H>CBG 6F>G>B< CIH C; 6 G:D6F6H>CB 6<F::A:BH CF 9>JCF8: H=6H
                                                                             KCI 9>9 BCH F:DCFH 6G DF>CF>HK 8@6>AG
    & Check if this claim is for a community debt
                                                                         & +:7HG HC D:BG>CB CF DFC;>H$G=6F>B< D@6BG# 6B9 CH=:F G>A>@6F 9:7HG
    Is the claim subject to offset?                                      & .H=:F% 0D:8>;K55555555555555555555555555555555
    & -C
    & 3:G

                                                                                                                                               "555555555555
                                                                         Last 4 digits of account number 555 555 555 555
    5555555555555555555555555555555555555555555555555555555555555
    -CBDF>CF>HK *F:9>HCFNG -6A:
                                                                         When was the debt incurred?            555555555555
    5555555555555555555555555555555555555555555555555555555555555
    -IA7:F          0HF::H
                                                                         As of the date you file, the claim is: *=:8? 6@@ H=6H 6DD@K%
    5555555555555555555555555555555555555555555555555555555555555
    *>HK                                        0H6H:      4,/ *C9:      & *CBH>B<:BH
                                                                         & 2B@>EI>96H:9
    Who incurred the debt? *=:8? CB:%                                    & +>GDIH:9
    & +:7HCF & CB@K
    & +:7HCF ' CB@K                                                      1KD: C; NONPRIORITY IBG:8IF:9 8@6>A(
    & +:7HCF & 6B9 +:7HCF ' CB@K                                         & 0HI9:BH @C6BG
    & )H @:6GH CB: C; H=: 9:7HCFG 6B9 6BCH=:F                            & .7@><6H>CBG 6F>G>B< CIH C; 6 G:D6F6H>CB 6<F::A:BH CF 9>JCF8: H=6H
                                                                             KCI 9>9 BCH F:DCFH 6G DF>CF>HK 8@6>AG
    & Check if this claim is for a community debt
                                                                         & +:7HG HC D:BG>CB CF DFC;>H$G=6F>B< D@6BG# 6B9 CH=:F G>A>@6F 9:7HG
    Is the claim subject to offset?                                      & .H=:F% 0D:8>;K55555555555555555555555555555555
    & -C
    & 3:G
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                                                                         Last 4 digits of account number 555 555 555 555
    5555555555555555555555555555555555555555555555555555555555555                                                                              "555555555555
    -CBDF>CF>HK *F:9>HCFNG -6A:
                                                                         When was the debt incurred?            555555555555
    5555555555555555555555555555555555555555555555555555555555555
    -IA7:F          0HF::H
                                                                         As of the date you file, the claim is: *=:8? 6@@ H=6H 6DD@K%
    5555555555555555555555555555555555555555555555555555555555555
    *>HK                                        0H6H:      4,/ *C9:      & *CBH>B<:BH
                                                                         & 2B@>EI>96H:9
    Who incurred the debt? *=:8? CB:%                                    & +>GDIH:9
    & +:7HCF & CB@K
    & +:7HCF ' CB@K                                                      1KD: C; NONPRIORITY IBG:8IF:9 8@6>A(
    & +:7HCF & 6B9 +:7HCF ' CB@K                                         & 0HI9:BH @C6BG
    & )H @:6GH CB: C; H=: 9:7HCFG 6B9 6BCH=:F                            & .7@><6H>CBG 6F>G>B< CIH C; 6 G:D6F6H>CB 6<F::A:BH CF 9>JCF8: H=6H
                                                                             KCI 9>9 BCH F:DCFH 6G DF>CF>HK 8@6>AG
    & Check if this claim is for a community debt
                                                                         & +:7HG HC D:BG>CB CF DFC;>H$G=6F>B< D@6BG# 6B9 CH=:F G>A>@6F 9:7HG
    Is the claim subject to offset?                                      & .H=:F% 0D:8>;K55555555555555555555555555555555
    & -C
    & 3:G


                                                                         Last 4 digits of account number 555 555 555 555                       "555555555555
    5555555555555555555555555555555555555555555555555555555555555
    -CBDF>CF>HK *F:9>HCFNG -6A:
                                                                         When was the debt incurred?            555555555555
    5555555555555555555555555555555555555555555555555555555555555
    -IA7:F          0HF::H
                                                                         As of the date you file, the claim is: *=:8? 6@@ H=6H 6DD@K%
    5555555555555555555555555555555555555555555555555555555555555
    *>HK                                        0H6H:      4,/ *C9:      & *CBH>B<:BH
                                                                         & 2B@>EI>96H:9
    Who incurred the debt? *=:8? CB:%                                    & +>GDIH:9
    & +:7HCF & CB@K
    & +:7HCF ' CB@K                                                      1KD: C; NONPRIORITY IBG:8IF:9 8@6>A(
    & +:7HCF & 6B9 +:7HCF ' CB@K                                         & 0HI9:BH @C6BG
    & )H @:6GH CB: C; H=: 9:7HCFG 6B9 6BCH=:F                            & .7@><6H>CBG 6F>G>B< CIH C; 6 G:D6F6H>CB 6<F::A:BH CF 9>JCF8: H=6H
                                                                             KCI 9>9 BCH F:DCFH 6G DF>CF>HK 8@6>AG
    & Check if this claim is for a community debt
                                                                         & +:7HG HC D:BG>CB CF DFC;>H$G=6F>B< D@6BG# 6B9 CH=:F G>A>@6F 9:7HG
    Is the claim subject to offset?                                      & .H=:F% 0D:8>;K55555555555555555555555555555555
    & -C
    & 3:G

                                                                                                                                               "555555555555
                                                                         Last 4 digits of account number 555 555 555 555
    5555555555555555555555555555555555555555555555555555555555555
    -CBDF>CF>HK *F:9>HCFNG -6A:
                                                                         When was the debt incurred?            555555555555
    5555555555555555555555555555555555555555555555555555555555555
    -IA7:F          0HF::H
                                                                         As of the date you file, the claim is: *=:8? 6@@ H=6H 6DD@K%
    5555555555555555555555555555555555555555555555555555555555555
    *>HK                                        0H6H:      4,/ *C9:      & *CBH>B<:BH
                                                                         & 2B@>EI>96H:9
    Who incurred the debt? *=:8? CB:%                                    & +>GDIH:9
    & +:7HCF & CB@K
    & +:7HCF ' CB@K                                                      1KD: C; NONPRIORITY IBG:8IF:9 8@6>A(
    & +:7HCF & 6B9 +:7HCF ' CB@K                                         & 0HI9:BH @C6BG
    & )H @:6GH CB: C; H=: 9:7HCFG 6B9 6BCH=:F                            & .7@><6H>CBG 6F>G>B< CIH C; 6 G:D6F6H>CB 6<F::A:BH CF 9>JCF8: H=6H
                                                                             KCI 9>9 BCH F:DCFH 6G DF>CF>HK 8@6>AG
    & Check if this claim is for a community debt
                                                                         & +:7HG HC D:BG>CB CF DFC;>H$G=6F>B< D@6BG# 6B9 CH=:F G>A>@6F 9:7HG
    Is the claim subject to offset?                                      & .H=:F% 0D:8>;K55555555555555555555555555555555
    & -C
    & 3:G
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                                                                         Last 4 digits of account number 555 555 555 555
    5555555555555555555555555555555555555555555555555555555555555                                                                              "555555555555
    -CBDF>CF>HK *F:9>HCFNG -6A:
                                                                         When was the debt incurred?            555555555555
    5555555555555555555555555555555555555555555555555555555555555
    -IA7:F          0HF::H
                                                                         As of the date you file, the claim is: *=:8? 6@@ H=6H 6DD@K%
    5555555555555555555555555555555555555555555555555555555555555
    *>HK                                        0H6H:      4,/ *C9:      & *CBH>B<:BH
                                                                         & 2B@>EI>96H:9
    Who incurred the debt? *=:8? CB:%                                    & +>GDIH:9
    & +:7HCF & CB@K
    & +:7HCF ' CB@K                                                      1KD: C; NONPRIORITY IBG:8IF:9 8@6>A(
    & +:7HCF & 6B9 +:7HCF ' CB@K                                         & 0HI9:BH @C6BG
    & )H @:6GH CB: C; H=: 9:7HCFG 6B9 6BCH=:F                            & .7@><6H>CBG 6F>G>B< CIH C; 6 G:D6F6H>CB 6<F::A:BH CF 9>JCF8: H=6H
                                                                             KCI 9>9 BCH F:DCFH 6G DF>CF>HK 8@6>AG
    & Check if this claim is for a community debt
                                                                         & +:7HG HC D:BG>CB CF DFC;>H$G=6F>B< D@6BG# 6B9 CH=:F G>A>@6F 9:7HG
    Is the claim subject to offset?                                      & .H=:F% 0D:8>;K55555555555555555555555555555555
    & -C
    & 3:G


                                                                         Last 4 digits of account number 555 555 555 555                       "555555555555
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    -CBDF>CF>HK *F:9>HCFNG -6A:
                                                                         When was the debt incurred?            555555555555
    5555555555555555555555555555555555555555555555555555555555555
    -IA7:F          0HF::H
                                                                         As of the date you file, the claim is: *=:8? 6@@ H=6H 6DD@K%
    5555555555555555555555555555555555555555555555555555555555555
    *>HK                                        0H6H:      4,/ *C9:      & *CBH>B<:BH
                                                                         & 2B@>EI>96H:9
    Who incurred the debt? *=:8? CB:%                                    & +>GDIH:9
    & +:7HCF & CB@K
    & +:7HCF ' CB@K                                                      1KD: C; NONPRIORITY IBG:8IF:9 8@6>A(
    & +:7HCF & 6B9 +:7HCF ' CB@K                                         & 0HI9:BH @C6BG
    & )H @:6GH CB: C; H=: 9:7HCFG 6B9 6BCH=:F                            & .7@><6H>CBG 6F>G>B< CIH C; 6 G:D6F6H>CB 6<F::A:BH CF 9>JCF8: H=6H
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    & Check if this claim is for a community debt
                                                                         & +:7HG HC D:BG>CB CF DFC;>H$G=6F>B< D@6BG# 6B9 CH=:F G>A>@6F 9:7HG
    Is the claim subject to offset?                                      & .H=:F% 0D:8>;K55555555555555555555555555555555
    & -C
    & 3:G

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                                                                         Last 4 digits of account number 555 555 555 555
    5555555555555555555555555555555555555555555555555555555555555
    -CBDF>CF>HK *F:9>HCFNG -6A:
                                                                         When was the debt incurred?            555555555555
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                                                                         As of the date you file, the claim is: *=:8? 6@@ H=6H 6DD@K%
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                                                                         & 2B@>EI>96H:9
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    & +:7HCF & CB@K
    & +:7HCF ' CB@K                                                      1KD: C; NONPRIORITY IBG:8IF:9 8@6>A(
    & +:7HCF & 6B9 +:7HCF ' CB@K                                         & 0HI9:BH @C6BG
    & )H @:6GH CB: C; H=: 9:7HCFG 6B9 6BCH=:F                            & .7@><6H>CBG 6F>G>B< CIH C; 6 G:D6F6H>CB 6<F::A:BH CF 9>JCF8: H=6H
                                                                             KCI 9>9 BCH F:DCFH 6G DF>CF>HK 8@6>AG
    & Check if this claim is for a community debt
                                                                         & +:7HG HC D:BG>CB CF DFC;>H$G=6F>B< D@6BG# 6B9 CH=:F G>A>@6F 9:7HG
    Is the claim subject to offset?                                      & .H=:F% 0D:8>;K55555555555555555555555555555555
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                                                                         Last 4 digits of account number 555 555 555 555
    5555555555555555555555555555555555555555555555555555555555555                                                                              "555555555555
    -CBDF>CF>HK *F:9>HCFNG -6A:
                                                                         When was the debt incurred?            555555555555
    5555555555555555555555555555555555555555555555555555555555555
    -IA7:F          0HF::H
                                                                         As of the date you file, the claim is: *=:8? 6@@ H=6H 6DD@K%
    5555555555555555555555555555555555555555555555555555555555555
    *>HK                                        0H6H:      4,/ *C9:      & *CBH>B<:BH
                                                                         & 2B@>EI>96H:9
    Who incurred the debt? *=:8? CB:%                                    & +>GDIH:9
    & +:7HCF & CB@K
    & +:7HCF ' CB@K                                                      1KD: C; NONPRIORITY IBG:8IF:9 8@6>A(
    & +:7HCF & 6B9 +:7HCF ' CB@K                                         & 0HI9:BH @C6BG
    & )H @:6GH CB: C; H=: 9:7HCFG 6B9 6BCH=:F                            & .7@><6H>CBG 6F>G>B< CIH C; 6 G:D6F6H>CB 6<F::A:BH CF 9>JCF8: H=6H
                                                                             KCI 9>9 BCH F:DCFH 6G DF>CF>HK 8@6>AG
    & Check if this claim is for a community debt
                                                                         & +:7HG HC D:BG>CB CF DFC;>H$G=6F>B< D@6BG# 6B9 CH=:F G>A>@6F 9:7HG
    Is the claim subject to offset?                                      & .H=:F% 0D:8>;K55555555555555555555555555555555
    & -C
    & 3:G


                                                                         Last 4 digits of account number 555 555 555 555                       "555555555555
    5555555555555555555555555555555555555555555555555555555555555
    -CBDF>CF>HK *F:9>HCFNG -6A:
                                                                         When was the debt incurred?            555555555555
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                                                                         As of the date you file, the claim is: *=:8? 6@@ H=6H 6DD@K%
    5555555555555555555555555555555555555555555555555555555555555
    *>HK                                        0H6H:      4,/ *C9:      & *CBH>B<:BH
                                                                         & 2B@>EI>96H:9
    Who incurred the debt? *=:8? CB:%                                    & +>GDIH:9
    & +:7HCF & CB@K
    & +:7HCF ' CB@K                                                      1KD: C; NONPRIORITY IBG:8IF:9 8@6>A(
    & +:7HCF & 6B9 +:7HCF ' CB@K                                         & 0HI9:BH @C6BG
    & )H @:6GH CB: C; H=: 9:7HCFG 6B9 6BCH=:F                            & .7@><6H>CBG 6F>G>B< CIH C; 6 G:D6F6H>CB 6<F::A:BH CF 9>JCF8: H=6H
                                                                             KCI 9>9 BCH F:DCFH 6G DF>CF>HK 8@6>AG
    & Check if this claim is for a community debt
                                                                         & +:7HG HC D:BG>CB CF DFC;>H$G=6F>B< D@6BG# 6B9 CH=:F G>A>@6F 9:7HG
    Is the claim subject to offset?                                      & .H=:F% 0D:8>;K55555555555555555555555555555555
    & -C
    & 3:G

                                                                                                                                               "555555555555
                                                                         Last 4 digits of account number 555 555 555 555
    5555555555555555555555555555555555555555555555555555555555555
    -CBDF>CF>HK *F:9>HCFNG -6A:
                                                                         When was the debt incurred?            555555555555
    5555555555555555555555555555555555555555555555555555555555555
    -IA7:F          0HF::H
                                                                         As of the date you file, the claim is: *=:8? 6@@ H=6H 6DD@K%
    5555555555555555555555555555555555555555555555555555555555555
    *>HK                                        0H6H:      4,/ *C9:      & *CBH>B<:BH
                                                                         & 2B@>EI>96H:9
    Who incurred the debt? *=:8? CB:%                                    & +>GDIH:9
    & +:7HCF & CB@K
    & +:7HCF ' CB@K                                                      1KD: C; NONPRIORITY IBG:8IF:9 8@6>A(
    & +:7HCF & 6B9 +:7HCF ' CB@K                                         & 0HI9:BH @C6BG
    & )H @:6GH CB: C; H=: 9:7HCFG 6B9 6BCH=:F                            & .7@><6H>CBG 6F>G>B< CIH C; 6 G:D6F6H>CB 6<F::A:BH CF 9>JCF8: H=6H
                                                                             KCI 9>9 BCH F:DCFH 6G DF>CF>HK 8@6>AG
    & Check if this claim is for a community debt
                                                                         & +:7HG HC D:BG>CB CF DFC;>H$G=6F>B< D@6BG# 6B9 CH=:F G>A>@6F 9:7HG
    Is the claim subject to offset?                                      & .H=:F% 0D:8>;K55555555555555555555555555555555
    & -C
    & 3:G
